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 1   ALEX R. KESSEL (State Bar No. 110715)
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 2   Suite 1208
     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4
 5   Attorney for Defendant
     NAM PHAMTRAN
 6
 7
                                   UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                        )   CASE NO.: 2:05-CR-542-GEB
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                           Plaintiff,                 )   STIPULATION RE: PERMISSION
12                                                    )   FOR DEFENDANT TO LEAVE
     vs.                                              )   CENTRAL DISTRICT JURISDICTION;
13                                                    )   ORDER THEREON
     NAM PHAMTRAN,                                    )
14                                                    )
                           Defendant.                 )
15                                                    )
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              IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
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     AMERICA, and defendant NAM PHAMTRAN, through his counsel of record that:
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              1.    Defendant Nam Phamtran be permitted to leave the jurisdiction of the Central District
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     for a family trip to Las Vegas, Nevada, from December 2, to December 6 , for a period of five days;
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              2.    Defendant Nam Phamtran, upon arriving in Las Vegas, Nevasa shall contact his
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     pretrial services officer and advise them of the defendant's location of residence and telephone
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     number in Las Vegas, Nevada ; and
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              3.    Defendant Nam Phamtran, upon return to his place of residence in the Central
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     District shall contact his pretrial services officer and advise them of defendant’s return from Las
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     Vegas, Nevada.
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     ///
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       Case 2:05-cr-00542-GEB Document 282 Filed 12/01/11 Page 2 of 2


 1   DATED: December 1, 2011
 2
 3                                                 /S/ Alex R. Kessel
                                               ALEX R. KESSEL
 4                                             Attorney for Defendant,
                                               NAM PHAMTRAM
 5
 6   DATED: December 1, 2011
 7
 8
                                                 /S/ Daniel McConkie
 9                                             DANIEL MCCONKIE
                                               Assistant United States Attorney
10                                             for Plaintiff, UNITED STATES OF AMERICA
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12
13
                                        ORDER
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           GOOD CAUSE APPEARING, IT IS SO ORDERED.
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16   Dated: December 1, 2011
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18                                    GARLAND E. BURRELL, JR.
19                                    United States District Judge

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